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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

                           CLERK'S MINUTES - CIVIL GENERAL

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 CASE NO. 8:17-cv-2896-T-26AAS            DATE   November 15, 2018

 TITLE        Robert L. Vazzo, et al. v. City of Tampa, et al.

 TIME       9:14 - 4:32                   TOTAL        7 hr 18 min.
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 Honorable AMANDA ARNOLD SANSONE          Deputy Clerk    Cathy Morgan

 Court Reporter/Tape Lynanne Nicely                    Courtroom     10B
 44444444444444444444444444444444444444444444444444444444444444444444
 Attorney for Plaintiff          Attorney for Defendant:         Defendant(s):
 Horatio Mihet, Esq.               Robert Williams, Esq.         City of Tampa
 Roger Gannam, Esq.               Sylvia Walbolt, Esq.           Equality Florida Inst.
                                  Brian Porter, Esq.             Equality Florida Inst.
                                  Tyler Clemons, Esq.            Equality Florida Inst.
 4444444444444444444444444444444444444444444444444444444444444444444
 PROCEEDINGS:

                          PRELIMNARY INJUNCTION HEARING

 Court hears argument on Plaintiff’s Motion for Preliminary Injunction (Dkt. 3). Parties have until
 December 3, 2018 to file supplemental briefs, not to exceed 10 pages. Court will issue a written
 order.
